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                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF MINNESOTA


In RE:

         TRACY A. HAZELTON,                                         Case No.: 17-60631
         NATALIE L. HAZELTON,                                       Chapter 7
                            Debtors.

                                                          ORDER

       David G. Velde, the Trustee in this matter, filed a Notice of Sale, Abandonment, Lease or
Settlement on August 16, 2019. No objections were filed. Based upon all records herein,

         IT IS ORDERED:

         1.        The Trustee’s Notice of Sale, Abandonment, Lease or Settlement is approved.

         2.        The Trustee will sell to the Debtors for $1,505.37, the bankruptcy estate’s interest
                   in the following assets:
                   a.      Cash on hand with a petition value of $31.00;
                   b.      Checking account balances of $874.34; and
                   c.      Shotgun with a petition value of $600.00.

         3.        The Trustee will sell to the Debtors for $50,308.61, the bankruptcy estate’s interest
                   in HHE, LLC.

Dated: September 26, 2019

                                                               /e/ Michael E. Ridgway
                                                              ________________________________
                                                              Michael E. Ridgway
                                                              Chief United States Bankruptcy Judge


                                                                    NOTICE OF ELECTRONIC ENTRY AND
                                                                    FILING ORDER OR JUDGMENT
                                                                    Filed and Docket Entry made on 09/26/2019
                                                                    Lori Vosejpka, Clerk, by AMM


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